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MARCEREAU & NAZIF

Robert H. Marcereau (SBN 211534)
Sy Nazif (SBN 228949)

26000 Towne Centre Drive, Suite 230
Foothill Ranch, CA 92610

Tel: (949) 531-6500

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Kelli Peters, Bill Peters and Sydnie Peters

In re:

Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
Easter

Kelli Peters, Bill Peters and Sydnie Peters,

Plaintiffs,

V5.
Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.

Easter,
Defendants.

report with the Court by March 2, 2017.

Dated: November 16, 2016

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Main Document

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ATTORNEYS FOR CREDITORS and PLAINTIFFS

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

Case No. 8:16-bk-10223-ES
Adversary Case No.: 8:16-ap-01114-ES

NOTICE OF CONTINUANCE OF
STATUS CONFERENCE

Date: March 9, 2017

Time: 9:00 a.m.

Dept.: 5A

Location: 411 Fourth Street
Santa Ana, CA 92701

TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
PLEASE TAKE NOTICE that the Status Conference in the above-captioned case has been
continued to March 9, 2017 at 9:00 a.m. in Department 5A. The Parties are to file an updated status

MARCEREAU & NAZIF

/s/ Robert H. Marcereau
Robert H. Marcereau
Attorneys for Plaintiffs

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NOTICE OF CONTINUANCE OF STATUS CONFERENCE

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Main Document Page 2 of 2

PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): NOTICE OF CONTINUANCE OF STATUS
CONFERENCE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/16/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Robert P. Goe: kmurphy@goeforlaw.com, rgoe@goefcrlaw.com; goeforecf@gmail.com
Trusiee, Weneta M. Kosmala: ecf.alert+Kosmala@ititlexi.com; wkosmala@txitrustee.com; dmf@txitrustee.com;
kgeorge@kosmalalaw.com
United States Trustee: ustpregion16.sa.ecf@usdoj.gov
[] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 11/46/46, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor/Defendant: Attorney for Debtor/Defendant: Frustee:

Kent W. Easter Robert P. Goe Weneta M Kosmala

153 Baywood Dr. Goe & Forsythe, LLP 3 MacArthur Place, Suite 760
Newport Beach, CA 92660 18101 Von Karman, Ste 1200 Santa Ana, CA 92707

Irvine, CA 92612
Judge: Hon. Erithe A. Smith, U.S.
Bankruptcy Court Central District, 411
W. Fourth St., Suite 5040 / Ctrm 5A,
Santa Ana, CA 92701-4593

L] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 11/16/16 | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

L] Service information continued on attached page
declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/16/2016 Nicole Lipowski isi Nicole Lipowski
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
